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                          UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION

 UNITED STATES OF AMERICA,                )               CR. 09-50029
                                          )
             Plaintiff,                   )
                                          )             REPORT AND
    vs.                                   )         RECOMMENDATION ON
                                          )        DEFENDANT’S MOTION TO
 BEN STOCKMAN,                            )               DISMISS
                                          )
             Defendant.                   )

                                   INTRODUCTION

          Defendant Ben Stockman has moved to dismiss counts II and III of the

 indictment against him. See Docket No. 146. The government resists the

 motion. This motion was referred for a report and recommendation by this

 magistrate judge by the Chief District Court Judge, the Honorable Karen E.

 Schreier pursuant to 28 U.S.C. § 636(b)(1)(B).

                                       FACTS

          Mr. Stockman was charged in an initial indictment filed with the court

 on May 19, 2009, with the crimes of conspiracy to distribute cocaine in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)--(Count I); possession

 of cocaine with the intent to distribute in violation of 21 U.S.C. §§ 841(a)(1) and

 841(b)(1)(C)--(Count II) and distribution of cocaine in violation of 21 U.S.C. §§

 841(a)(1) and 841(b)(1)(C)--(Count III). See Docket No. 1. The cocaine
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 conspiracy count was alleged to have been joined in by Mr. Stockman and his

 co-defendant Joe Bradley, as well as other unnamed co-conspirators. The

 conspiracy is alleged to have taken place in the District of South Dakota and

 elsewhere.

       The time frames alleged in the original indictment were from October,

 2005, through May 19, 2009, the date of the indictment, for the conspiracy

 count. The distribution count as well as the possession with intent to

 distribute count were alleged to have taken place in August, 2008, in Rapid

 City, South Dakota. Mr. Stockman previously filed a motion to dismiss all

 three counts in the original indictment, alleging various grounds, including the

 argument that counts II and III were multiplicitous. See Docket Nos. 22, 23.

 The district court denied this first motion to dismiss in its entirety. See Docket

 No. 62.

       On September 22, 2009, a superseding indictment was filed against

 Mr. Stockman, co-defendant Joe Bradley, and a new co-defendant, Lindsey

 Potratz, also known as Nate Tchida. See Docket No. 100. As in the original

 indictment, Mr. Stockman was once again charged in the superseding

 indictment with conspiracy to distribute cocain for the same dates and

 locations, this time with Mr. Potratz as a named co-defendant along with

 Mr. Bradley and Mr. Stockman (count I); possession of cocaine with the intent

 to distribute in August, 2008, in Rapid City, South Dakota (count II); and


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 distribution of cocaine in Rapid City, South Dakota, in August, 2008 (count

 III). Thus, counts II and III of the superseding indictment asserted identical

 charges against Mr. Stockman as did the original indictment.

       Finally, a second superseding indictment was filed against all three co-

 defendants on November 18, 2009. See Docket No. 135. Counts II and III of

 the second superseding indictment assert the same charges against Ben

 Stockman as did the original indictment. Compare Docket No. 1, with Docket

 No. 135. Mr. Stockman now moves to dismiss counts II and III of the second

 superseding indictment against him on the grounds that those charges are

 multiplicitous. See Docket Nos. 146, 147.

                                   DISCUSSION

       The court notes initially that counts II and III of all three indictments

 filed in this case have remained the same against Mr. Stockman. Also,

 Mr. Stockman has already raised and lost the argument that counts II and III

 should be dismissed because they are multiplicitous. See Docket Nos. 22, 23,

 and 62. Therefore, under the law of the case, this issue has already been

 resolved against Mr. Stockman. Any further recourse should be had at the

 appellate level and his motion should be denied under the law of the case.

       However, in order to provide a complete record, the court also

 recommends denying Mr. Stockman’s motion on its merits as follows. A

 multiplicitous indictment is one that charges a single offense in multiple


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 counts. United States v. Webber, 255 F.3d 523, 527 (8th Cir. 2001). Multiple

 sentences for a single offense are constitutionally impermissible because the

 Double Jeopardy Clause of the Fifth Amendment bards multiple punishments

 for the same criminal offense by the same sovereign. United States v. Roy, 408

 F.3d 484, 491 (8th Cir. 2005). “when the same statutory violation is charged

 twice, the question is whether Congress intended the facts underlying each

 count to make up a separate unit of prosecution.” United States v. Chipps,

 410 F.3d 438, 447 (8th Cir. 2005) (citing Bell v. United States, 349 U.S. 81

 (1955)).

       Under the “unit of prosecution” test, the court must determine whether

 Congress intended to punish the acts charged as a course of conduct, or

 whether Congress sought to punish the individual acts separately. Chipps,

 410 F.3d at 448. This determination must be made by looking at the statutory

 language, the legislative history, and the statutory scheme. Id. “When

 Congress fails to establish the unit of prosecution ‘clearly and without

 ambiguity’ we resolve doubt as to congressional intent in favor of lenity for the

 defendant.” Id. (quoting Bell, 349 U.S. at 83-84).

       Both count II and count III of the indictment allege violations of 21

 U.S.C. § 841(a)(1) and 841(b)(1)(C). The substance for the charges alleged in

 counts II and III are contained in § 841(a)(1), which states in pertinent part as

 follows:


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       (a) Unlawful acts
       Except as authorized under this subchapter, it shall be unlawful
       for any person knowingly or intentionally–
              (1) to . . . distribute, or . . . possess with intent to . . .
       distribute, . . . a controlled substance; . . .

 See 21 U.S.C. § 841(a)(1).1 Cocaine is defined as a “controlled substance” for

 purposes of § 841(a)(1). See 21 U.S.C. § 812. Thus, the question is whether

 the government can permissibly charge Mr. Stockman with both distribution of

 cocaine and also with possession with intent to distribute cocaine without

 running afoul of the Double Jeopardy Clause.

       The government asserts that the proper test is the Blockburger test and

 that, under that test, counts II and III are not multiplicitous. The government’s

 position enjoys currency with some circuit courts. This precise issue was

 addressed by the First Circuit in United States v. Sepulveda, 102 F.3d 1313 (1st

 Cir. 1996). The defendant argued that he could not be charged with

 distribution of a drug, and possession of that same drug, where both charges

 arose out of the same core facts. Id. at 1316. The First Circuit disagreed. Id.

 at 1316-1317. Citing Blockburger v. United States, 284 U.S. 299, 304 (1932),

 the court began with the proposition that “a defendant can be convicted of two

 differently defined offenses, based on the same core of facts, so long as each

 offense requires an element that the other does not.” Id. at 1316.


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        Section 841(b)(1)(C), also referenced in counts II and III of the
 indictment refer to the penalties applicable for the violation of § 841(a)(1)
 alleged in the indictment.

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       Here, the court noted that “obviously,” the distribution charge required

 proof of an element that the possession charge did not, namely that the

 defendant have transferred or distributed the drug to another person. Id. at

 1316. The court also noted that the crime of distribution does not always

 require proof of facts which would show that the defendant ever “possessed”

 the drugs–as in the situation where the defendant participates in a drug

 transfer in the capacity of a broker or an armed guard and never possesses the

 drug himself. Id. at 1317 (citing United States v. Brunty, 701 F.2d 1375, 1381

 & n.16 (11th Cir. 1983)). Therefore, although the crime of possession often

 occurs in conjunction with the crime of distribution, possession is not a

 necessary element of distribution. Id. (citing United States v. Tejada, 886 F.2d

 483, 490 (1st Cir. 1989)).

       The Eighth Circuit has agreed that possession is not a necessary element

 of distribution. See United States v. Osuna-Zepeda, 416 F.3d 838, 843 (8th cir.

 2005) (“possession of the narcotic is not a necessary element of the crime of

 conspiracy to distribute.”). However, the Eighth Circuit does not follow along

 with the First Circuit’s legal conclusion deriving from that observation.

       There is a split of authority among the circuits as to whether a defendant

 may be convicted of two crimes or one crime under § 841(a)(1) where the crimes

 of distribution and possession with intent to distribute involve only one

 quantity of drug. Compare Sepulveda, 102 F.3d at 1316-17, with United


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 States v. Meredith, 824 F.2d 1418, 1426 (4th Cir. 1987) (“when the narcotics

 involved in the possession and [in the] distribution offense are the same, and

 there is no showing of any break in the continuity from the acquisition of the

 narcotics to their distribution, there is only one crime: distribution.”). The

 Eighth Circuit has sided with the Fourth and Ninth Circuits, among others, in

 holding that where two charges under § 841(a)(1) arise out of possession and

 distribution of a single quantity of drugs at the same time and same place, dual

 convictions cannot ensue. See United States v. Mendoza, 902 F.2d 693, 698-

 99 (8th Cir. 1990) (citing United States v. Palafox, 764 F.2d 558 (9th Cir. 1985)).

       In Mendoza, the defendant was convicted of both possession of one

 kilogram of cocaine with the intent to distribute it, and also distribution of that

 same one kilogram of cocaine, arising out of a single transfer of the kilo to an

 undercover law enforcement officer. Id. at 694-95. Mendoza argued on appeal

 that it was error to convict him of two offenses arising out of the same act. Id.

 at 696. The Eighth Circuit held that, since § 841(a)(1) was intended to “cast its

 net as broadly as possible” by “criminaliz(ing) successive stages of a single

 undertaking,” it was therefore permissible to charge Mendoza with both the

 possession and the distribution of the same kilo. Id. at 696-97.

       Having been convicted of both charges, the Eighth Circuit then turned to

 the question whether it was permissible for Mendoza to stand convicted of both

 charges. Id. at 697-99. This question, the court said, turned on “whether the


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 [two] underlying offenses arise ‘from a single criminal undertaking involving

 drugs, and each offense is committed at virtually the same time, in the same

 place, and with the same participants.’ ” Id. at 698 (quoting Palafox, 764 F.2d

 at 562). If the evidence shows that both the possession and the distribution

 charges stem from the transfer of a single quantity of drug on a single

 occasion, both convictions may not stand. Id. at 698-99. Dual convictions are

 permitted where two separate quantities of drug are involved on two separate

 occasions. Id. at 699. Even where a single quantity of drug is involved and a

 single transfer takes place, the two convictions may co-exist if the evidence

 shows that the defendant possessed the drug for a significant period of time

 before transferring it. Id. Alternatively, the two convictions may stand if the

 defendant possessed a larger quantity of drug and transferred only part of that

 quantity in the distribution demonstrated by the evidence. Id.

       Mr. Stockman’s current motion to dismiss counts II and III comes prior

 to trial. Therefore, his motion poses the question whether he may permissibly

 be charged with both possession and distribution under 21 U.S.C. § 841(a)(1).

 Clearly, under Mendoza, he may be so charged. Mendoza, 902 F.2d at 697-98.

 Therefore, this court recommends that Mr. Stockman’s motion be denied at

 this point.

       If the evidence introduced at the trial of this matter demonstrates that

 the charges contained in counts II and III of the indictment stem from separate


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 factual cores, then the convictions on both counts, if any, may also stand. Id.

 at 698-99. It should be noted that the government represents in its responsive

 brief on Mr. Stockman’s motion to dismiss that the evidence at trial will show

 that counts II and III stem from different factual cores. See Docket No. 156,

 page 4. Furthermore, the Eighth Circuit has held that, even if an indictment

 has multiplicitous counts, the indictment “may be saved at the trial stage if the

 district court submits an appropriate instruction to the jury” telling the jurors

 that they must elect between the multiplicitous counts and cannot convict on

 both. See United States v. Roy, 408 F.3d 484, 491-92 (8th Cir. 2005).

       If the evidence introduced at the trial of this matter demonstrates that

 the charges contained in counts II and III stem from a single possession and

 distribution of a single quantity of drug all at the same time and place, and the

 jury convicts Mr. Stockman of both charges, then Mr. Stockman may renew his

 motion to discharge one of the convictions post-trial. Mendoza, 902 F.2d at

 698-99.

                                  CONCLUSION

       This court respectfully recommends that Ben Stockman’s second motion

 to dismiss [Docket No. 146] be denied in all respects.

                         NOTICE OF RIGHT TO APPEAL

       The parties have fourteen (14) days after service of this report and

 recommendation to file written objections pursuant to 28 U.S.C. § 636(b)(1)(B),


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  unless an extension of time for good cause is obtained. See Fed. R. Crim. P.

  59(b); 28 U.S.C. § 636(b)(1)(B). Failure to file timely objections will result in the

  waiver of the right to appeal questions of fact. Id. Objections must be timely

  and specific in order to require de novo review by the district court. See

  Thompson v. Nix, 897 F.2d 356 (8th Cir. 1990); Nash v. Black, 781 F.2d 665 (8th

  Cir. 1986).

        Dated January 5, 2010.
                                  BY THE COURT:


                                  /s/   Veronica L. Duffy
                                  VERONICA L. DUFFY
                                  UNITED STATES MAGISTRATE JUDGE




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